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UNITED sTATEs DISTRICT cOURT men B\r._ gp
Western District of Tennessee Pé: "'
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UNITED sTATEs oF AMERICA , m y s.i
Plaintiff, §§§§Qi§s?o§?¥§?
w.o. orr m nsvz`sms§
VS. Case Numbers 2:97CR20234-01-Ml
=97cR20235-01-M1
=97cR20236-01-M1
=97cR20237-01-M1/
;97cR2023a-01-M1
=97CR20239-01-M1
=97cR20240-01-M1
=97cR20241-01-M1

EDDIE D. JETER
Defendant.

[\Jl\)[\.ll\.)l\)[\)|.\)

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committed On or After November 1, 1987)

The defendant, Eddie D. Jeter, was represented by Jacob Erwin, Esq.

It appearing that the defendantr who was convicted on February'll, 2000 in the above
styled cases and was placed on Supervised Release for a period of three (5) years, has
violated the terms of Supervised Release.

lt is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of seventeen (17) months. Each above indicated
case is to be served concurrently each other and concurrent with case 2:05CR20014-01 for
a total term of incarceration of seventeen (17) months.

It is recommended to the Bureau of Prisons that the defendant be incarcerated at
a facility in Memphis, TN area.

FURTHERMORE, the Court hereby vacates the previously imposed period of Supervised
Release. All restitution and other monetary penalties remain as previously imposed.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States Marshal.

Signed this the LLJ day of June, 2005.

-QWOQQ

J N PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

Defendant's SS No.: XXX-XX-XXXX

Defendant's Date of Birth: 09/04/1946

U.S. Marshal No.: 16203-076

Defendant's Mailinq Address: 305 South Bellevue, #1006r Memphis, TN 38104

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UNITED sTATES DISTRICT COURT - WETSEN DI's'TRICT oF ENNESSEE

   

Notice of Distribution

This notice confirms a copy cf the document docketed as number 174 in
case 2:97-CR-20237 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

